     Case 3:21-cv-00356 Document 38 Filed on 01/24/22 in TXSD Page 1 of 1

                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

Feds for Medical Freedom, et al.

versus                                               Case Number: 3:21−cv−00356
                                                     Judge Jeffrey V. Brown
Joseph R. Biden, Jr., et al.

               NOTICE OF THE FILING OF AN APPEAL
An appeal has been filed by Joseph R. Biden, Jr., et al.. The following appeal and
related motions are pending in the District Court:

                                 Notice of Appeal − #37

If the appellant fails to comply with the following requirements, then the Clerk of
Court will submit a certificate of noncompliance to the Fifth Circuit Court of Appeals.

FILING FEE:
A filing fee is required to proceed on appeal. If the filing fee has not already been paid,
then it must be paid or a motion to proceed in forma pauperis must be filed, unless
appellant is an United States government agency.

TRANSCRIPTS:
If hearings were held in this case and the transcripts were not already produced, then
transcripts must be ordered. Pursuant to FRAP 10(b)(1), a transcript order form must
be filed within 14 days of the filing of the notice of appeal. Under Fifth Circuit Rule
10, the appellant's order of the transcript must be made on a DKT−13 Transcript Order
form. The DKT−13 must be filed regardless of whether there were hearings or
transcripts needed. A link to the DKT−13 form and instructions for ordering transcripts
are available on the court's website at www.txs.uscourts.gov/page/OrderingTranscripts.

If there were no hearings or no transcripts are needed, file the DKT−13 form with the
appropriate box marked to indicate so. For cases where transcripts are needed, prepare
a separate DKT−13 for each reporter from whom you are ordering transcripts. All
transcripts for electronically recorded proceedings may be ordered on one form. Each
form should indicate the exact dates of the proceedings to be transcribed by that
reporter.

EXHIBITS:
The Fifth Circuit requires exhibits admitted into evidence be included in the electronic
record for transmission to the Fifth Circuit. Exhibits in the custody of the court will be
electronically filed by court staff. Exhibits previously returned to the parties must be
immediately electronically filed in this case by the attorney, using event Exhibits in the
Trial Documents category in ECF.

Date: January 24, 2022.
                                                                   Nathan Ochsner, Clerk
